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                                   MASTER SERVICE AGREEMENT

This Master Service Agreement ("Agreement") is entered into by and between Academic
Partnerships, LLC, a Delaware limited liability company ("AP"), and University of North
Carolina Wilmington (the "University" or "LINCW") as of February 15, 2013 (the "Effective
Date). AP and the University are sometimes referred to in this Agreement each as a "Part;/", and
collectively as the "Parties."

                                               Recitals

A.    The University offers undergraduate, graduate, and post-graduate courses both (i) in
     traditional classroom settings ("Offline Educational Courses") and (ii) online ("Online
     Educational Courses").

B.   AP will provide services to TINCW per RFP response number 72 PMEF11064 and Best and
     Final Offer 72 PMEF1I064 C. Subject to the terms and conditions set forth herein, the
     University desires to engage AP to provide AP Resource Materials (defined herein) in
     connection with the(i) development, maintenance and marketing of Online Educational
     Courses for Programs the University places with AP; and (ii) the conversion of Offline
     Educational Classes to Online Educational Classes under this Asreement.

I.   Definitions

     Capitahzed terms used         in this Agreement shall have the meanings described below   or
     elsewhere in the Asreement.

        A. "AP Materials"       means (i) AP Resource Materials, (ii) Developed Materials
               created by AP, and (iii) any documentation or other materials associated with the
               foregoing.

        B.     '(AP Resource Materials" means the materials, resources and services of AP
               made available to the University when (i) developing Online Educational
               Courses, (ii) marketing such Online Educational Courses, (iii) converting the
               University's Offline Educational Courses to Online Educational Courses, (iv)
               providing student retention support and (v) developing the best practices for
               online curriculum, instruction and assessment.

        C.     '(AP Revenue" means the product of multiplyrng the AP Revenue Percentage
               times the Revenue.

        D.     "AP Revenue Percentagett means a percentage of the tuition for each Online
               Educational Course in which a Student is enrolled. For the first Program, and to
               the extent one or more new Programs are added during the Term of this
               Agreement, the Parties will enter into an Addendum to this Agreement, the
               purpose of which will be to set forth the AP Revenue Percentage for such new
               Progtam. Any such Addendum shall be in the form of Exhibit A attached hereto.


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        E.    "Curriculum Materials" means a group of related Online Educational Courses
              (along with instructional and assessment materials), the successful completion of
              which results in a degree or other credentialing.

        F.    "Developed Materialstt means any ideas, designs, development tools, know-how,
              concepts or written materials developed by either Party.

        G.    "Facultytt means person(s) designated by the University to teach Online
              Educational Courses.

        H.    (Intellectual Propertytt means any and all now known or hereafter existing
              rights associated with (i) works of authorship, including exclusive rights,
              copyrights, moral rights and mask works, (ii) trade secret rights, (iii) trademark
              and trade name rights; (iv) patents, designs and other industrial property rights,
              (v) other intellectual and proprietary rights of every kind and nature whether
              arising by operation of law, by contract or license or otherwise and (vi) all
              registrations, renewals, extensions, combinations, divisions, or reissues of any of
              the foregoing.

        I.    "Program(s)t' mean units of TINCW study in those academic programs placed
              under this Agreement by the University offered through Online Educational
              Courses that lead to a degree or other certification.

        J.    "Revenue" msans the tuition collected from Students for Online Educational
              Courses under this Agreement, including Revenue from all general, prerequisite
              or co-requisite Online Educational Courses in Programs placed under this
              Agreement by the University.

        K.    '(Student(s)" means an individual enrolled in one or more Online Educational
              Courses at the University.

        L.    ((Termination for Conveniencett means mutually
                                                             agreed upon termination by
              both parties without further recourse by either party.

        M.    "University Material" means the (i) Cuniculum Materials, (ii) lectures,
              documentation and other materials created by the University, including
              Developed Materials created by the University and (iii) Faculty or other
              university designated content providers.

II.    AP Obligations

        During the Term (defined herein) of this Agreement, AP shall have the following
       obligations:

       A.      Marketing. AP will:




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               (i)       be the exclusive marketer of the Online Programs listed in the Addendum
                         and will market the University and its Programs using a variety of means
                         as determined by AP including digital marketing; and

               (ii)      provide competitive research regarding other universities offering similar
                         Programs.

               (iii)     Market the Programs to employers and other organizations using affiliate
                         partnership representatives.

       B.    Program Development, Support and Implementation. AP's implementation
             team will work with the University to launch the University's Programs. AP's
             implementation support servi ces will include :

               (i)       an integration team that works with the University's personnel (specific to
                         each degree/certifi cate);

               (iD       facilitation of Program planning sessions (faculty meetings, admission
                         policies, course sequence and calendar);

               (iii) facilitation of         operational planning sessions      with key
                                                                                       University
                         departments to review existing processes and recommend efficiencies;

               (iv)      development of a "Program Guidelines" document;

               (v)       facilitation   of   cross-functional meetings   to   manage implementation
                         processes; and

               (vi)      project management services, including development of a detailed project
                         plan (the "Plan") to drive prograrn implementation activities, and weekly
                         reporting of project progress against the Plan.

       C.    Assistance with Student Information System ("SIS") and Learning
             Management System ("LMS"). The University will provide to AP, read-only
             access to records within its SIS and LMS that contain information about students
             enrolled in AP Programs, including any pre-requisite General Education courses.
             AP relies primarily on daily extracts from university systems, but will utilize
             essential data from these systems to (i) create Program prototypes, (ii) assist
             faculty with curriculum development, (iii) facilitate student matriculation,
             (iv)assist in improving sfudent retention, (v) monitor Program success and (vi)
             assist with and facilitate the growth of the University's Online Educational
             Courses. Essential SIS data includes, but is not limited to, applicant, student,
             section and enrollment data. Essential LMS data includes, but is not limited to,
             course, section, student, grade and time-and-activity data critical to providing
             student retention.




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        D.    Curriculum Support Services. AP will work with Faculty and the University
              with Program design, including but not limited to:

                (i)     assisting with Program   / course blueprinting and course conversion;

                (ii)    assist university in structuring multiple start dates in a way that also
                          assures financial aid eligibility; and

                (iii)   introducing best practices for the delivery of an online Curriculum.


        E.    Recruiting and Enrollment Specialist Representatives ("ESRs"). ESRs will
              serve as a primary point of contact for all prospective students for identified
              Programs. The ESRs will help educate students about the University's Programs.
              AP's responsibilities include:

                (i)     staffing and equipping a call center for ESRs;

                (ii)    providing a team of ESRs to contact potential students once a lead is
                          received;

                (iii)   providing a toll free number and website for prospective students;

                (iv)    recruiting in compliance with the academic standards of the University
                          and regulatory requirements; and

                (v)     informing potential students of the Program characteristics and referring
                          potential students to the University regarding financial aid and/or
                          academic questions. In performing recruiting activities, ESR's shall use
                          such marketing and promotional materials as are provided by or
                          approved by the University in accordance with Section III and shall be
                          entitled to rely on the accuracy of any such materials.

                         AP agrees that in the course of recruitment of Students for enrollment in
                         one or more Online Educational Courses it will not provide any
                         commission, bonus or other incentive payments based directly or
                         indirectly upon success in securing enrollments to any person or entity
                         engaged in any student recruiting or admission activities, or any person
                         directly supervising such person, except in accordance with the
                         provisions of 34 c.F.R. 668.14(b)(22)(2003) and any subsequent
                         amendment thereto, andlor any other requirement of the United States
                         Department of Education or the University's regional accreditor.

        F.    Application Support. In addition to recruiting, ESRs will:

                (i)     inform applicant of all University application requirements;


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                (ii)      contact applicants regarding upcoming Program deadlines;

                (iii)     remind applicants to submit necessary papenwork (transcripts, etc.);

                (iv)      remind Students of the registration process, registration deadlines and
                            paynent deadlines once admitted to the University; and

                (")       refer Students to appropriate University resources if there are further
                            questions about the Program(s).

        G.    student support services. ESRs will provide student support and retention
              services, including, but not limited to the following:

                (i)       following up with Students periodically to ensure satisfaction continuing
                            through graduation;

                (iD       referring Students to University resources if academic questions persist;

                (iii)     welcoming new Students and providing upcoming registration dates
                           and/or deadlines;

                (iv)      re-engaging inactive Students; and

                (v)       reminding Students of upcoming start dates, registration deadlines and
                            payrnent deadlines.

        H.     Protection of Student Information. The University has informed AP that
               Student specific information may be protected from disclosure pursuant to the
               provisions of the Family Educational Rights and Privacy Act (FERPA), (20
               U.S.C.$ I23g;34 CFR Part 99). AP expressly agrees that it shall (i) not disclose
               any such information to any third parties and (ii) take such measures as are
               reasonable and prudent to protect such information from inadvertent disclosure.

III.   University Obligations

       The University shall retain authority in the (i) appointment of Faculty, (ii) admission of
       Students, (iii) delivery of Programs, (iv) evaluation of Student performance, (v) decision
       to award course credit and/or academic credentialing, and (vi) decision to award
       scholarships or financial aid. During the Term of this Agreement, the University shall
       have the following obligations:

       A.     Marketing Deliverables.

              (1) University has a duty to expressly approve or disapprove of marketing
                  materials submitted to it by AP within 5 business days of receipt by
                  University of the materials. If University does not respond to AP within the 5
                  day period, AP may assume that the marketing materials are approved;


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              (2) University will deliver to AP its branding and style guidelines;

              (3) Subject to University discretion and provided the marketing does not create an
                  unintended tax consequence, the University may allow AP to use the
                     University web domain for marketing (i.e., http://onlinc.universitynaure.edu or
                     http://deqrec.universitynanie.edu) and host those subdomains for ease of
                     maintenance and updates;

              (4) University will allow AP to have access to alumni email lists for marketine
                 purposes; and,

              (5) University will determine enrollment goals for the Programs, in consultation
                  with AP.

       B.     Regulatory Approvalso Accreditations, and Licenses. The University will
              determine and obtain all necessary regulatory approvals and licenses for the
              Programs, including without limitation any necessary state authorizations for
              distance leaming programs.

       C.     FinanciaVBusiness Oversight.           The University will oversee the financial
              management of the Programs.

       D.     Intellectual Property. The University will not remove, deface, or obscure any of
              AP's or its suppliers' copyright or trademark notices and/or legends or other
              proprietary notices associated with the AP Materials.

       E.     Access toData. The University will provide access to Student information data
              and online delivery data in order for AP to fulfill its oblieations under this
              Agreement.

       F.     Assessment. University and AP agree to meet no less frequently than annually to
              assess the success of the Programs, including review of the services provided
              hereunder.

IV.    License Grants by AP

       A.     AP Resource Materials. During the Term of this Agreement, AP grants the
              University a limited, non-exclusive, license to use and modify the AP Resource
              Materials for the specific and limited purpose of developing programs.

       B.     Trademarks. During the Term of this Agreement, AP grants the University a
              limited, nonexclusive license to use such AP trademarks, as are designated in
              writing by AP, for the specific and limited purpose of marketing the Programs.
              Exhibit B lists the initial AP trademarks that may be used per this Section.




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V.     License Grants by the University

        A.      University Materials. During the Term of this Agreement, the University grants
                AP a limited, non-exclusive license to use and modify the University Materials
                for the specific and limited purpose of developing Programs.

       B.       Trademarks. During the Term of this Agreement, the university grants Ap a
                limited, non-exclusive license to such University trademarks, as designated in
                writing by the University, solely for the pu{pose of marketing the programs.
                Exhibit C lists the initial University trademarks that may be used per this Section.

VI.    Ownership

       A.       ownership of AP Intellectual Property. AP retains all ownership                     and
                Intellectual Property rights in the AP Materials.

       B.       Ownership of University Materials. The University retains all ownership and
                Intellectual Property rights in the University Materials.

       C.       Ownership of Developed Materials. Consistent with applicable University
                intellectual property policies, any right, title and interest in and to any Intellectual
                Property arising from or attributed to any of the work or activities undertaken as
                part of this Agreement shall belong to the Party that creates such Intellectual
                Property, unless mutually agreed otherwise in writing.

VII.   Term and Right of First Offer

       A. Term.     The term ("Original Term") of this Agreement commences on the Effective
             Date and ends on the tenth anniversary of the commencement date of the first
             Program ("Agreement Launch Date"). The term of an individual Program ("Program
             Term") starts on the date of first enrollment of an individual Program ("Program
             Launch Date") and ends 12 months later. At the end of each Program Term of 12
             months, if mutually agreed in writing by the parties, the participating UNCW
             Program Launch Date shall be extended for a period of three (3) years..

VI[.   Payment and Taxes

       A.       AP Revenue. The University will collect all Revenue and will remit to AP the
                AP Revenue, which shall be due and payable to Ap within thirty (30) days of the
                start of any online Educational course upon receipt of a proper invoice.

       B.       AP Revenue Percentage: 55o/o of charged tuition for both in-state and out-of-
                state Students for 1 8 months , 50o/o at renewal. 50Yo for each succeeding degree
                program after the first degree program.

       C.       Taxes. Each Party will be responsible for any and all taxes due on their portion
                of Revenues received.



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       D.     Acknowledgement by the University. The University acknowledges that a
              significant portion of AP's cost is incurred before a Student enrolls, and that AP's
              only method of cost recovery is through the continuing payrnents as a Student
              progresses through the individual University Programs. Accordingly, for each
              Student AP has enrolled in a UNCW Program under this Agreement during the
              Term of this Agreement, the University will continue to remit payments to AP per
              Section VIII A above for so long as:

              a) the Student continues to take On Line Educational Courses at the Universitv    in
              the Program (beyond termination date of this Agreement); and

              b) limited to tracking a Student for no more than I50% of the Program's official
              time to completion based upon hypothetical pursuit of a Program degree. AP
              receives no payment in the event the Student withdraws from the Program's
              online educational courses at UNCW, or the Student takes longer to matriculate
              than the I50% time limit set forth above.


TX.    Indemnification

       A.     AP. AP will defend and indemnify the University for the acts or omissions of its
              officers, agents, and employees. AP shall further defend and indemniff the
              University against any claim(s) that any AP Materials fumished by AP infringes
              a third palty 's intellectual property, provided that: (a) the University notifies AP
              in writing within 30 days of the claim; and (b) the University provides AP with
              the assistance, information, and authority reasonably necessary to perform the
              above; reasonable out-of-pocket expenses incurred by the University in providing
              such assistance will be reimbursed by AP.

       B.     University. Subject to the NC Tort Claims statute and process, N.C.G.S. gl43-2gl
              et seq., and reserving its .ights to and an assertion of sovereign immunity, the
              University will rsmain financially responsible for the acts and omissions of its
              officers and employees within the scope of their employment responsibilities, and
              defend AP against a claim that any University Materials furnished by the University
              infringes a third party's intellectual property, provided that (a) AP notifies the
              University in writing within 30 days of the claim; and (b) AP provides the
              University with the assistance, information, and authority reasonably necessary to
              perform the above; reasonable out-of-pocket expenses incurred by AP in providing
              such assistance will be reimbursed by the University.

       C.     Remedies. In the event that some or all of the AP Materials is held or is believed
              by AP to infringe third party rights, AP shall have the option, at its expense to: (a)
              modify the AP Materials to be non-infringing; or (b) obtain a license from the
              third party to continue using that portion of the AP Materials that is infringing the
              rights of such third party. If it is not commercially feasible to perform either of
              the above options, then AP may require the University to retum the infringing AP



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              Materials and all rights thereto. Upon retum of the infringing AP Materials to
              AP, the University may terminate this Agreement with 10 days' written notice.

X.      LIMITATION OF LIABILITY
        NEITHER PARTY SIIALL BE LIABLE FOR ANY INDIRECTO INCIDENTAL'
        SPECIALO PUNITIVE' OR CONSEQUENTIAL DAMAGES.

XI.     Warranties

        A.    Authority.    Each Party warrants, to the best of its knowledge, that it has the
              authority to enter into the Agreement and to perform its obligations set forth herein.

        B.    Ownership by AP. AP warrants that it is the sole and exclusive owner of all AP
              Materials or has the license to use and sub-license any Intellectual Property owned
              by third parties and incorporated into such AP Materials, and that, to the best of its
              knowledge; such AP Materials does not infringe any third-party rights.

        C.    Ownership by the University. The University warrants that it is the sole and
              exclusive owner of all University Materials or has or will secure shop rights or
              licensed rights to use and/or sublicense any Intellectual Property owned by third
              parties and incorporated into the University Materials, and that, to the best of its
              knowledge, the University trztaterials does not infringe any third-party riglrts.

XII.    Termination

        A.    Material Breach. If either Party materially breaches the terms of this Agreement
              and fails to correct the breach within 60 days after the non-breaching Party
              provides written notification, the non-breaching Party may terminate this
              Agreement.

        B.    University's Obligations. Upon expiration or termination of this Agreement,
              University shall cease all use of AP Materials and return any such material in its
              possession to AP.

        C.    AP's Obligations. Upon expiration or termination of this Agreement, AP shall
              cease all distribution of University Materials and retum any such material in its
              possession to the University, provided that AP shall have the right to continue to
              use the University Materials for the sole purpose of permitting Students then
              enrolled in a Program to complete such Program.

        D.    Damages. For any termination for cause, neither party shall be liable to the other
              for lost profits, incidental or consequential damages. In the event of any
              termination for cause, both parties acknowledge and expressly agree that
              regardless of the forum, claims, bases, or causes of action, the maximum damages
              either party may be entitled shall be $25,000.




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       D.      Termination for Convenience. The parties may mutually agree to terminate the
               Agreement without further recourse to either party.

XIIL   General

       A.   Relationship Between the Parties. Each Party is an independent contractor and will be
            solely responsible for payment of all compensation owed to its ernployees, as well as
            employment related taxes. Each Party will maintain appropriate worker's compensation
            for its employees as well as general liability insurance. Neither this Agreement, nor any
            terms and conditions contained herein, shall be construed as creating a partnership, joint
            venture, agency or franchise relationship.

       B.      Notice. All notices, including notices of address change, required to be sent hereunder
               shall be in writing and shall be deemed to have been given when mailed by certified
               mail to:

               If to AP:

                          Academic Partnerships, LLC
                          Attention: Chief Financial Officer
                          600 North Pearl Street
                          Suite 900
                          Dallas, Texas 7520I

               With copy to:

                          Academic Partnerships, LLC
                          Attn: Legal Dept.
                          2200 Ross Ave., Suite 3800
                          Dallas, TX75201
                          FAX No. 214-438-4133

               If to the University:

               Program and Contract Administration: Dr. Johnson Akinleye
               Contract Language : Mary E. Forsythe
               LINCW
               601 S. College Rd
               Wilmington, NC 28403

               The Parties agree that they each may treat documents faxed and./or email attachments
               and/or a signature sent electronically by the other Parly as original documents;
               nevertheless, either Party mayrequire the other to exchange original signed documents.

       D.      Severability. In the event any provision of this Agreement is held to be invalid or
               unenforceable, the remaining provisions of this Agreement will remain in full force.



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       E.      Waiver. The waiver by either Party of any default or breach of this Agreement shall
               not constitute a waiver of any other or subsequent default or breach. Except for
              actions for nonpayment or breach of either Party's intellectual property rights, no
              action, regardless of form, arising out of this Agreement may be brought by either
              Party more than two years after the cause of action has accrued.

       F.     Headings. The headings appearing in this Agreement are inserted for convenience
              only, and will not be used to define,limit or enlarge the scope of this Agreement or
              any of the obligations herein.

       G.     Counterparts. This Agreement may be executed in any number of counterparts,
              each ofwhich, when executed and delivered, shall be an original, and all the
              counterparts together shall constitute one and the same instrument.

       H.     Confidential Information. Subject to applicable NC law, each Party agrees that
              it shall not use or disclose to any third party, except for the pu{pose of performing
              this Agreement, any business and technical information of the other Party which,
              in the exercise of reasonable judgment, should be recognized by such party as
              confidential ("Confidential Information"). The obligation of confidentiality shall
              not apply to information which: (a) is or becomes part of the public domain
              through no fault of the receiving Party; (b) is furnished by the disclosing Party to
              others without restrictions on use and disclosure; (c) becomes known or available
              to the receiving Party without restriction from a source other than the disclosing
              Party without breach of any Agreement with the disclosing Party; (d) is disclosed
              with prior written approval of the disclosing Party; (e) is independently developed
              by the receiving Party without the use of any confidential Information; (0 is
              previously known to the receiving Party on a non-confidential basis; or (g) is
              required by court order or government agency to be disclosed, in which case, the
              receiving Party shall give the disclosing Party as much notice as is reasonably
              practical so that the disclosing Party may seek a protective order or other
              confidential protection as the disclosing Party, in its sole discretion, may elect and
              the receiving Party shall reasonably cooperate with the disclosing party in
              disclosing Party's efforts to obtain such order or protection.

              Force Majeure. Neither Party will be liable for delays or failure in its performance
              hereunder to the extent such delay or failure is caused by any act of God, war,
              natural disaster, strike, lockout,labor dispute, work stoppage, fire, third-party
              criminal act or act of govemment, or any other event beyond the reasonable control
              of that Parfy (an "Excusable Delay"). This Agreement may be terminated with
              written notice by either Party under this section should the Excusable Delav of the
              non-performing Party continue for more than 30 days.

       J.     Entire Agreement. This Agreement with any documents referred to in it
              constitutes the entire agreement and understanding between the parties and
              supersedes any previous agreement between them relating to the matters set forth
              herein.


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       K.     Successors and Assigns. This Agreement    will  be binding upon, and will inure to
             the benefit of, the permitted successors and assigns of each party hereto. The
             University may not assign, this Agreement or any of its rights hereunder without the
             prior written consent of AP, and any attempted assignment without such consent
              shall be void.

       L.    Variation. No variation of this Ageement or of any of the documents referred to in
             it shall be valid unless it is in writing and signed by or on behalf of each of the
             Parties.

       M.    Survivability. The following Sections shall survive the expiration and termination
             of this Agreement: III.C, VI, VIII,IX, X, XI, XII, and XIII.

       N.    Jurisdiction and Venue. This Agreement shall be construed and interpreted by the
             laws of the State of North Carolina; any dispute shall be properly heard in New
             Hanover County, North Carolina. The parties agree to the jurisdiction and venue as
             contained in this clause.




                               [Signature                      Page                     FollowsJ




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 ACADEMIC PARTNERSHIPS, LLC             UNIVERSITY OF NORTH CAROLINA AT
                                        WILMINGTON

                                        Signature:    -e           f
 Narhe: Michael Bri                     Name: Dr. Denise Battles
 Title:                                 Title: Provost and VC for Academic   Affairs
                                                      ,^
                                                      |
 Date:                                  Llate:
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                                                        tLk=_E
                                                  t



                                        T]NIVERSITY OF NORTH CAROLINA AT
                                        WILMINGTON


                                       Name: Charles Maimone
                                       Title:   Vice Chancellor for Business Affairs
                                                          t,
                                       Date: L/ lr /tS




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                                           ADDENDUM     I
This Addendum ("Addendum") dated as of February 15, 2013, is a supplement to that certain
Master Service Agreement ("Agreement") dated as of February 15,2013 between Academic
Partnerships, LLC ("AP"), and University of North Carolina Wilmington (the "University") and
is fully incorporated therein.

1. NAME OF PARTICIPATING SCHOOI, OR COLLEGE:

College of llealth and Human Services, School of Nursing

2. EF'FECTIVE DATE OF PROGRAM:

July 2013

3. PROGRAMS AND/OR DEGRIEST
Bachelor of Science Nursing RN-BS including general education courses

4. AP REVENUE PHRCENTAGE: 55% of charged tuition for both irr-state arrd out-of-state
Students   for   18 months . 50% at renewal.

ACADEMIC PARTNERSHIPS, LLC                     UNIVERSITY OT NORTH CAROLINA AT
                                               WILMI
                                               Signature:
Name: Michael Briskey                          Name: Dr, Denise Battles
Title: CFO                                     Title:   Provost and VC for Academic Affairs
                                                               ,t
Date:                                          Date:ffi LlElzol'7
                                               UNIVERSITY OF NORTH CAROLTNA A.T
                                               WILMINGTON
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                                               sisnuror",       W^-           f
                                               Name: Charles Maimone
                                               Title:       Vice Chancellor for Business Affairs
                                               Date:                tlrfrz



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                                      ADDENDUM         II
This Addendum ("Addendum") dated as of fC6. U, ?At 7          , is a supplement to that
certain Master Service Agreement ("Agreemenf') dated as of February 15, 2013_between
Academic Partnerships, LLC ("AP"), and University of North Carolina Wilmington (the
"University") and is fully incorporated therein.

 1. NAME OF PARTICIPATING SCHOOL OR COLLEGE:

Watson College of Education

2. EFFECTIVE DATE OF PROGRAM:
   Ta fu ,tig{ari+r r\.( / bZ      /xf,eS
3. PROGRAMS AND/OR DEGREES:
Master of Education in Elementary Education

4. AP REVENUE PERCENTAGE: 50% of charged tuition for both in-state and out-of-state
students


ACADEMIC PARTNERSHIPS, LLC                    UNIVERSITY OF NORTH CAROLINA AT
                                              wrLMrNG?qN                    ./1
                                              Signature: W
Name: Michael Briskev                         Name: Dr. Denise Battles
Title: CFO                                    Titler Provost and VC for Academie Affairs
Date:                                         Date: z/alzotl
                                                    -r.{r-*@
                                              UNIVERSITY OF NORTII CAROLINA AT
                                              WILMINGTON
                                                   -'.'          ft
                                              sienut*",W
                                              Name: Charles Maimone
                                              Title:    Vice Chancellor for Business Affairs
                                              Da."e: .&l    lt   lB     ^




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                                            EXHIBIT B
                            (AP Trademarks, including those of its affiliates)

     1.     ACADEMIC PARTNERSHIPS, LLC
     2.     ACADEMIC PARTNERSHIPS
     3.     AP



               ACADEMIC
  W            P     A R T N E R S H I P S*




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